Case 2:03-cr-20475-.]DB Document 14 Filed 05/27/05 Page 10f2 Page|D 13 1

UNITED STATES DISTRICT COURT FHL:D F~*`f'….. 1, _

 

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FOR THE
WESTERN DIsTRICT 0F TENNESSEE 351-1127 PH 31 51

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UNITED STATES OF AMERICA

vs. Cr. No. 03-20475-B

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WILLIAM VISOR
APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Katrina U. Earlev, Assistant U.S. Attornev applies to the Court for a Writ to have
William Visor., R&I #248717. DOB ]0-13-78, SSN XXX-XX-XXXX is now being detained in the My
County Penal Farm appear before the Honorable .I. DANIEL BREEN on 3]_st, May, 2005, at Q_:_;Q
g_._r_rlL for Report Date and for such other appearances as this Court may direct.

Respectfully submitted this 20th day of Ma, 2005.

/M

AssistantU. S. Attorney

 

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Upon consideration of the foregoing Application,

DAVID G. JOLLEY, U.S. MARSHAL, WESTERN DlSTRICT OF TENNESSEE, MEMPHIS, TN

SHERIFF/WARDEN,

YOU ARE HEREBY COMMANDED to have William Visor
appear before the Honorable Jh Daniel Breen at the date and time aforementioned.

ENTERED this 436-rv _day ofM al 2005.

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UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 14 in
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May 27, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable J. Breen
US DISTRICT COURT

